  Case: 1:02-cr-00200 Document #: 1875 Filed: 05/10/19 Page 1 of 1 PageID #:7602
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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS

United States of America,

                      Plaintiff,

              v.                                    No.   02 CR 200-22

Andre Lawrence,                                     Judge Rebecca R. Pallmeyer


                      Defendant.

                                            ORDER

        Motion hearing held on 511012019. Defendant's motion for relief under the First Step Act
[1865] granted. Defendant's term of Supervised Release is reduced from ten to eight years
       is
as to Count One. Defendant's terms of supervised release are further modified to require
residence at a BOP residential reentry center for the first 120 days of Defendant's term of
supervised release. AII of the other terms and conditions of the previous judgment remain
unchanged. Motions for reconsideration and to amend/correct [1855, 1862] are stricken as
moot.

                                            ENTER:



Dated: May 10,2019



(T:00:03)
